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                                                                      IN THE UNITED STATES DISTRICT COURT FOR THE
                                                                      NORTHERN DISTRICT OF GEORGIA
                                                                                ATLANTA DIVISION

                                                                                                             Master Case No. 1:21-MI-
                                                  IN RE GEORGIA SENATE BILL 202
                                                                                                             55555-JPB


                                                  SIXTH DISTRICT OF THE AFRICAN METHODIST
                                                  EPISCOPAL CHURCH, et al.,

                                                                       Plaintiffs,

                                                                       v.
                                                                                                              Civil Action No.
                                                  BRIAN KEMP, Governor of the State of Georgia, in            1:21-CV-1284-JPB
                                                  his official capacity, et al.,

                                                                       Defendants,

                                                  REPUBLICAN NATIONAL COMMITTEE, et al.,

                                                                       Intervenor-Defendants.


                                                                      DECLARATION OF GLORY KILANKO
                                                                          (pursuant to 28 U.S.C. § 1746)

                                                    My name is Glory Kilanko. I am over the age of 21 and fully competent to make this

            declaration. Under penalty of perjury, I declare the following based upon my personal

            knowledge:

                                                    1.     I currently live in Clayton County, Georgia. I am registered to vote in Clayton

            County.

                                                    2.     I am in my sixties and am Black/African.

                                                    3.     I am the founder and CEO of Women Watch Afrika.


                                             DECLARATION OF GLORY KILANKO – WOMEN

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                                                  4.    As part of my work with Women Watch Afrika, I have participated in handing

            out snacks (granola bars and crackers), water, and other provisions such as sanitizing supplies

            during the COVID-19 pandemic (known as “line relief”). When I participated in line relief, I

            would approach voters waiting in line within 150 feet of a polling place. If the line extended

            beyond 150 feet of the building, I would also approach those voters waiting in line. Regardless

            of the line length, my line relief activities involved approaching voters within 25 feet of the

            voting line.

            Prior to SB 202’s enactment, Women Watch Afrika had been participating in line relief for more

            than five years.

                                                  5.    Once SB 202 was enacted, Women Watch Afrika stopped its line relief activities

            because imposes criminal penalties that prevented us from approaching voters in line no matter

            how far they were from the outside of the polling place. The law is confusing and we did not

            want to put our staff or volunteers at risk.

                                                  6.    Protecting the right to vote through line relief is extremely important to me

            because I understand the weight of this right. When I became a naturalized citizen, one of the

            things they said to me during the ceremony was “Congratulations, you now have the right to

            vote.” Therefore, I knew then that voting was a powerful tool and right that should be exercised

            and protected.

                                                  7.    Central to Women Watch Afrika’s mission is encouraging others to get involved

            in their community on every level. I exemplify that by being one of the few executive directors

            of any organization, who is out there with the people participating in line relief. The message is




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            telling people that as a citizen, this is one of the most powerful weapons that you have and it is

            not open to all. I am proud of them for choosing to exercise them and I recognize them.

                                                  8.    These messages that Women Watch Afrika sends to voters through our line relief

            activities is the same regardless of whether Women Watch Afrika is approaching voters waiting

            in lines within 150 feet of the polling place or voters waiting in lines that extend beyond 150 feet

            of the polling place.

                                                  9.    Women Watch Afrika is non-profit C3, so we do not do partisan anything.

                                                  10.   Women Watch Afrika would like and would be able to resume at least some of its

            line relief activities even if the line relief ban were lifted only as to activities within 25 feet of

            voting lines that extend beyond 150 feet of the polling place.


                                                                I declare under penalty of perjury that the foregoing is true and correct.

                                                               Executed on April 19, 2023


                                                               __________________________________________ Glory Kilanko
                                                               Founder and CEO of Women Watch Afrika




                                             DECLARATION OF GLORY KILANKO – WOMEN

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